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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:04CR3137
          v.                        )
                                    )
TIMOTHY EUGENE LANGSTON,            )
                                    )                    ORDER
                Defendant.          )
                                    )



     IT IS ORDERED:

     Defendant’s motion for modification of release conditions,
filing 45, is granted in part and the defendant’s conditions of
release are modified to permit him to reside with the person
mentioned in the motion. The motion is otherwise denied.


     DATED this 27th day of April, 2005.


                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
